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 3
                                                                                          Judge Burgess
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 7
                                       UNITED STATES DISTRICT COURT
 8                                    WESTERN DISTRICT OF WASHINGTON
                                                AT TACOMA
 9

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11
                                                             NO.: CR05-5547FDB
12   UNITED STATES OF AMERICA,
                                                             ORDER GRANTING STIPULATED
13                                 Plaintiff,                MOTION FOR CONTINUANCE OF TRIAL
                                                             DATE AND EXTENDING PRETRIAL
14                  vs.                                      MOTIONS DEADLINE
15   SPENCER JOHN NOLAN, KRISTOPHER
     KELLY NOLAN, and TYLER LEE NOLAN,
16

17
                                   Defendants.

18
             Upon the stipulated of the parties to continue the trial date in the above-captioned
19
     case, the Court finds that such a continuance would serve the ends of justice and outweigh the
20
     best interests of the public and the defendants in a speedy trial, and that failure to grant the
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     requested continuance would deny the defendants the reasonable time necessary for effective
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23
     preparation, taking into account the exercise of due diligence, and,

     STIPULATED MOTION, DECLARATION                                           GEHRKE & BAKER
     AND AGREED ORDER - 1                                               22030 7TH AVE SOUTH SUITE 202
                                                                            DES MOINES, WA 98198
                                                                                  206.878.4100
                                                                               206.878.4101 FAX
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 2          IT IS HEREBY ORDERED that the trial date in this case be continued from March
 3
     13, 2006 to May 30, 2006, with a Pretrial Motions Deadline of March 17, 2006.
 4
     The period of delay resulting from this continuance from March 13, 2006 up to and including
 5
     the new trial date of May 30, 2006, is hereby excluded for speedy trial purposes under 18
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     U.S.C. § 3161(h)(8)(A) and (B).
 7
            DATED this 1st day of March, 2006.
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                                                         A
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11                                                       FRANKLIN D. BURGESS
                                                         UNITED STATES DISTRICT JUDGE
12
     Presented by:
13   _/s/__________________________________
     MICHAEL E. SCHWARTZ, WSBA #21824
14
     Attorney for Spencer Nolan
15   /s/_______________________________
     MIRIAM F. SCHWARTZ
16   Attorney for Kristopher Nolan
17
     _/s/________________________________
18   PHILLIP BRENNEN
     Attorney for Tyler L. Nolan
19
     _/s/________________________________
20   WILLIAM H. REDKEY
     Assistant United States Attorney
21

22

23

     STIPULATED MOTION, DECLARATION                                       GEHRKE & BAKER
     AND AGREED ORDER - 2                                           22030 7TH AVE SOUTH SUITE 202
                                                                        DES MOINES, WA 98198
                                                                              206.878.4100
                                                                           206.878.4101 FAX
